                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DMSI0N

                                       NO.S:1O-CR-233-F-S


UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )
                                                  )
MICHAEL BRADLEY GLOVER,                           )
            Defendant.                            )



               This matter is before the court upon the Government's appeal of the Magistrate

Judge's order allowing the defendant's motion for pretrial release. Although neither the

defendant nor the Government seeks to introduce additional evidence, the Government has

filed memoranda asserting the basis for the appeal of the Magistrate Judge's order allowing the

defendant's release, and the Defendant has filed memoranda in objection thereof.

               On July 16, 2010, the defendant was charged in Counts One and Three of a

fourteen count indictment. Count One charges Glover with conspiracy to knowingly and

intentionally manufacture, distribute and dispense and possess with the intent to distribute five

hundred (500) grams or more of a mixture and substance containing a detectable amount of

methamphetamine. Count Three charges Glover with knowingly, intentionally and unlawfully

possessing a listed chemical, to wit: pseudoephedrine, with the intent to manufacture a

controlled substance, that being methamphetamine. [DE-I].

               Where the offense charged is one for which a maximum term of imprisonment of

ten years or more is prescribed in specified federal drug trafficking or gun use statutes, it is

presumed, subject to rebuttal, that no condition or combination of conditions reasonably will

assure the safety of the community, and that the defendant must be detained pending trial. In

order to rebut the presumption, the defendant must produce "some evidence" to the contrary.

United States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985), abrogated on other grounds, United




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States u. O'Brien, 895 F.2d 810 (1 81 Cir. 1990). Counts One and Three of the Indictment in

which the defendant is charged each carry a maximum penalty greater than ten years, thereby

invoking the statute creating the statutory rebuttable presumption of detention. Furthermore,

the defendant has not refuted that the presumption applies, and the Indictment itselfis

sufficient to support a finding of probable cause triggering the § 3142(e) rebuttable

presumption. See, e.g., United States u. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991); United

States u. Stricklin, 932 F.2d 1353 (10th Cir. 1991).

               The court has listened to the digital recording of the detention hearing conducted

by Magistrate Judge William Webb on July 30,2010 and concluded on August 3,2010. Based

on the court's independent review of the record herein and of the contemporaneous recording of

the detention hearing, the court finds that the defendant presented sufficient evidence to rebut

the presumption, referenced above and set forth in 18 U.S.C. § 3142(e), that:

               [sJubject to rebuttal by the person, it shall be presumed that no
               condition or combination of conditions will reasonably assure the
               ... safety of the community if the judicial officer finds that there
               is probable cause to believe that the person committed an offense
               for which a maximum term of imprisonment of ten years or more
               is prescribed in the Controlled Substances Act.

               The Government did not challenge the defendant's assertions that his wife is a

suitable third party custodian, nor presented any evidence that the Defendant has not complied

with all the terms of his state court probation since his release from state prison in September

2009. Furthermore, the instant charges do not arise from new criminal conduct, rather the

testimony provided at the hearing, and the language of the Indictment both indicate that the

Defendant now is being charged in federal court for the same conduct for which he already has

plead guilty and served time in state court. Therefore, this court agrees with the Magistrate

.Judge that the Defendant successfully rebutted the presumption of detention, leaving the

Government with the burden to prove that no condition or combinations of conditions will

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reasonably assure the appearance of the person as required and the safety of any other person

or the community.

               According to the statute, in determining whether there are conditions of release

that will reasonably insure the appearance of the Defendant and the safety of other persons and

the community, the Court must consider all the evidence regarding:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence or involves a narcotic drug;


       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including ­

               (A) the person's character, physical and mental condition, family ties,
               employment, financial resources, length of residence in the community,
               community ties, past conduct, history relating to drug or alcohol abuse,
               criminal history, and record concerning appearances at court
               proceedings; and

               (B) whether, at the time of the current offense or arrest, the person was
               on probation, on parole, or on other release pending trial, sentencing,
               appeal, or completion of sentence for an offense under Federal, State, or
               local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed upon the person's release....


18 U.S.C. § 3142(g).

               Here, the nature and circumstances of the offense charged involve a narcotic

drug, methamphetamine, the contents of which are particularly hazardous to persons and

property as testified to at the hearing. Specifically, anhydrous ammonia, used to "cook"

metham phetamine, is toxic to humans if ingested, and potentially explosive if stored incorrectly

according to the testimony of Agent Michael Hall, a DRA Task Force Officer with the Raleigh

Special Bureau of Investigations.




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               Second, the weight ofthe evidence against Glover is substantial in that he already

has served time for possessing methamphetamine in the past, and indeed, was released only in

September 2U09, after pleading guilty and serving ten months on related state charges.

               Third, the Defendant's history is a checkered past of felony breaking and entering

convictions, narcotic related offenses, probation violations and a drug addiction. Although he

did present evidence of strong family ties at both segments of his detention hearing, he has a

substantial criminal history of involvement with drugs even in the face of those familial

relationships. Specifically, his wife testified at the detention hearing that Glover had a

substance abuse problem in 2007 and 2008 which led to their separation and his ultimate

arrest on state charges for possession. Furthermore, although it appears the Defendant has

complied with the terms of his probation since his release from state prison in September of

2009, he nevertheless was on probation at the time of the instant arrest. The court notes,

however, that the testifying officer stated that Glover was peaceable during his arrest and went

willingly.

               Finally, the danger posed to the community by this defendant by virtue ofthe

particularly hazardous nature of methamphetamine is quite high. Agent Hall testified that

Bradley Caleoat, along with others mentioned during the officer's testimony, provided

information that the Defendant was responsible for stealing and transporting the highly toxic

anhydrous ammonia needed for cooking methamphetamine. Although the court notes that the

evidence indicates that this behavior occurred prior to the Defendant's 2008-2009

incarceration in state prison, and that it appears that the instant charges arise from that past

activity as well, the activity is of a particular danger to persons and the community, especially

Glover's two small children who would reside in the home with him and his wife, the proposed

third-party custodian.

               For these reasons, this court is persuaded that, although the Defendant met the

rebuttable presum ption of detention for drug related offenses, there is no condition or

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combination of conditions under which the Defendant would not pose a danger to his

community if allowed to remain on pretrial release pending his arraignment and trial in federal

court. Accordingly, it is ORDERED that the defendant shall be committed to the custody of the

Attorney General for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences, or being held in custody pending appeal. It is

further ORDERED that the defendant shall be afforded reasonable opportunity for private

consu Itation with his attorney, and that, on order of the court or on request of an attorney of the

Government, the superintendent ofthe corrections facility in which the defendant is held

pending trial shall deliver him for the purpose of an appearance in connection with court

proceedings.

               SO ORDERED.

               This 16 th day of August, 2010.




                                          MESC. FOX
                                          nior United States District Judge




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